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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                                                   Case No. 4:18-cv-2344
                       Plaintiff,

v.                                                 JURY TRIAL DEMANDED

DOES 1- 107,

                       Defendants.



     PLAINTIFF’S ORIGINAL COMPLAINT FOR COPYRIGHT INFRINGEMENT


       Plaintiff Siemens Product Lifecycle Management Software Inc., by its attorneys, for and

on behalf of its complaint against Defendants Does 1-107, hereby alleges as follows:

                                            PARTIES

       1.      Plaintiff Siemens Product Lifecycle Management Software Inc. (“Siemens PLM”

or “Plaintiff”) is a corporation duly organized and existing under the laws of the State of

Delaware, with its principal place of business in the State of Texas.

       2.      The true names and capacities of the Defendants Does 1-107 are unknown to

Plaintiff at this time. Each Defendant is known to Plaintiff by the Internet Protocol (“IP”)

address assigned to that Defendant by his or her Internet Service Provider (“ISP”) on the date

and time at which the infringing activity of each Defendant was observed. Plaintiff believes that

information obtained in discovery, including through discovery from the ISP, will lead to the

identification of each Defendant’s true name. Upon learning of the specific identity of each

Defendant, Plaintiff may move to substitute the named parties or otherwise amend the


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Complaint.

                                 JURISDICTION AND VENUE

        3.     This is a civil action seeking damages and injunctive relief for copyright

infringement under the copyright laws of the United States (17 U.S.C. § 101, et seq.).

        4.     This Court has jurisdiction of this action pursuant to 17 U.S.C. § 101, et seq.; 28

U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338(a) (copyright).

        5.     Venue (and personal jurisdiction) in this District is proper under 28 U.S.C. §

1391(b) and/or 28 U.S.C. § 1400(a). Although the true identify of the Defendants is unknown to

Plaintiff at this time, on information and belief, the Defendants may be found in this District

and/or a substantial part of the acts of infringement complained of herein may have occurred in

this District and/or each Defendant, without consent or permission of the copyright owner,

Plaintiff, may have purposefully availed themselves of the services of an ISP located in this

District to illegally download from the Internet and/or use copyrighted works owned by the

Plaintiff.

                                 FIRST CAUSE OF ACTION
                        (Infringement of Copyrights Against Does 1-107)

        6.     Plaintiff incorporates herein by reference each and every allegation contained in

each paragraph above.

        7.     Siemens PLM manufactures and distributes Product Lifecycle Management

(“PLM”) software, which allows companies to manage the entire lifecycle of a product

efficiently and cost-effectively, from ideation, design and manufacture, through service and

disposal.    PLM software brings together computer-aided design (“CAD”), computer-aided

manufacturing (“CAM”), computer-aided engineering (“CAE”), product data management


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(“PDM”) and digital manufacturing. By providing the application depth and breadth needed to

digitally author, validate and manage the detailed product and process data, PLM supports

innovation by its customers.

       8.      NX 9, NX 10, and NX 11 (collectively “NX”) software are among the PLM

software products offered by Plaintiff. NX software offers the industry's broadest suite of

integrated, fully associative CAD/CAM/CAE applications.         NX touches the full range of

development processes in product design, manufacturing and simulation, allowing companies to

encourage the use of best practices by capturing and reusing product and process knowledge.

       9.      Solid Edge software, including Solid Edge with Synchronous Technology

(versions 3 through 7), is also among the PLM products offered by Plaintiff. Solid Edge is an

industry-leading mechanical design system with exceptional tools for creating and managing 3D

digital prototypes.   Solid Edge modeling and assembly tools enable Plaintiff’s customers’

engineering teams to easily develop a full range of products, from single parts to assemblies

containing many components. Tailored commands and structured workflows accelerate the

design of features common in specific industries and ensure accurate fit and function of parts by

designing, analyzing and modifying them within the assembly model. Solid Edge is a unique

mainstream mechanical system that merges design management capabilities with the CAD tools

that designers frequently use. With superior core modeling and process workflows, a unique

focus on the needs of specific industries and fully integrated design management, Solid Edge

helps guide projects toward an accurate design solution.

       10.     Femap software, including Femap with NX NASTRAN 10, is another PLM

product offered by Plaintiff. Femap is an advanced engineering simulation software program

that creates finite element analysis models of complex engineering products and systems, and

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displays solution results. Femap can virtually model components, assemblies, or systems and

determine the behavioral response for a given operating environment. Using Femap’s digital

simulation capabilities, one can predict and improve product performance and reliability, reduce

time-consuming and costly physical prototyping and testing, evaluate different designs and

materials, and optimize designs and reduce material usage.

       11.     Siemens PLM software, including NX, Solid Edge, and Femap, constitutes and

contains Siemens PLM’s valuable intellectual property that has been developed over many years

through the investment of substantial resources. To protect its rights and interests in its valuable

software, including but not limited to its NX, Femap, and Solid Edge software, Siemens PLM

obtains and registers copyrights to its works. Siemens is, and at all relevant times has been, the

copyright owner under United States copyright law with respect to certain copyrighted software

including, but not limited to, the NX software and Solid Edge software (the “Copyrighted

Software”). The Copyrighted Software is the subject of valid Copyright Registrations issued by

the Register of Copyrights to Plaintiff. A copy of the Certificate for Registration for Copyright

Registration Number TXu 1-883-621, dated September 25, 2013, which covers the NX 9

software is attached hereto as Exhibit A. A copy of the Certificate for Registration for Copyright

Registration Number TXu 1-965-012, dated December 9, 2014, which covers the NX 10

software is attached as Exhibit B. A copy of the Certificate for Registration for Copyright

Registration Number TXu 2-022-251, dated August 9, 2016, which covers the NX 11 software is

attached as Exhibit C. A copy of the Certificate for Registration for Copyright Registration

Number TXu 1-924-483, dated October 6, 2014, which covers the NX NASTRAN 10 software is

attached as Exhibit D. A copy of the Certificate for Registration for Copyright Registration

Number TXu 1-939-173, dated January 15, 2015, which covers the Femap 11 software is

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attached as Exhibit E.      A copy of the Certificate for Registration for each of Copyright

Registration Numbers TXu 1-724-134, TXu 1-786-233, TXu 1-825-344, TXu 1-876-437, and

TXu 1-915-713, each covering Solid Edge software, is attached hereto as Exhibits F-J,

respectively.

       12.      Plaintiff has placed proper notices of copyright pursuant to 17 U.S.C. § 401 on the

Copyrighted Software.

       13.      Among the exclusive rights granted to Plaintiff under the Copyright Act are the

exclusive rights to reproduce the Copyrighted Software and to distribute the Copyrighted

Software to the public.

       14.      Plaintiff is informed and believes that each Defendant, without permission or

consent of Plaintiff, has used, and continues to use, a computer with an Internet connection to

download and/or use certain of the Copyrighted Software. In doing so, each Defendant has

violated Plaintiff’s exclusive rights of reproduction and/or distribution.         Each Defendant’s

actions constitute infringement of Plaintiff’s copyrights and/or exclusive rights under copyright.

       15.      Plaintiff is informed and believes that the foregoing acts of infringement have

been willful, intentional, and in disregard of and with indifference to the rights of Plaintiff.

       16.      As a result of each Defendant’s infringement of Plaintiff’s copyrights and

exclusive rights under copyright, Plaintiff is entitled to statutory damages pursuant to 17 U.S.C.

§§ 502 and 503.

       17.      As a result of each Defendant’s infringement of Plaintiff’s copyrights and

exclusive rights under copyright, Plaintiff is entitled to actual damages according to proof.

       18.      As a result of each Defendant’s infringement of Plaintiff’s copyrights and

exclusive rights under copyright, Plaintiff is entitled to an accounting of each Defendant’s use

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and/or downloading of the Copyrighted Software and an accounting and recovery of revenues

and profits obtained by each Defendant by or through such use and/or downloading of such

software.

        19.     As a result of each Defendant’s infringement of Plaintiff’s copyrights and

exclusive rights under copyright, including willful and intentional infringement, Plaintiff is also

entitled to enhanced damages and recovery of its attorneys’ fees and costs.

        20.     As a result of each Defendant’s infringement of Plaintiff’s copyrights and

exclusive rights under copyright, Plaintiff is also entitled to injunctive relief prohibiting each

Defendant from further infringing Plaintiff’s copyrights, and ordering that each Defendant

destroy all copies of copyrighted software made in violation of Plaintiff’s exclusive rights.

                                 DEMAND FOR JURY TRIAL

        Plaintiff Siemens Product Lifecycle Management Software Inc. hereby demands a trial by

jury on all triable issues.

                                             PRAYER

        WHEREFORE, Plaintiff prays for judgment against each Defendant as follows:

        1. For an injunction providing:

        “Defendant shall be and hereby is enjoined from directly or indirectly infringing

        Plaintiff’s rights under federal or state law in the Copyrighted Software, whether now in

        existence or later created, that is owned or controlled by Plaintiff (or any parent,

        subsidiary, or affiliate of Plaintiff) (“Plaintiff’s Software”), including without limitation

        by using and/or downloading any of Plaintiff’s Software, except pursuant to a lawful

        license or with the express authority of Plaintiff. Each Defendant also shall destroy all

        copies of Plaintiff’s Software that the Defendant has used and/or downloaded onto any

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       computer hard drive or server without Plaintiff’s authorization and shall destroy all

       copies of that downloaded software transferred onto any physical medium or device in

       Defendant’s possession, custody, or control.”

       2. For statutory damages for each infringement of each Copyrighted Software pursuant

           to 17 U.S.C. § 504;

       3. For actual damages according to proof;

       4. For an accounting of the use and/or download by each Defendant of the Copyrighted

           Software;

       5. For an accounting of any revenues and profits realized by or through each

           Defendant’s use and/or download of the Copyrighted Software;

       6. For enhanced damages;

       7. For Plaintiff’s costs in this action;

       8. For Plaintiff’s reasonable attorneys’ fees incurred herein; and

       9. For such other and further relief as the Court may deem just and proper.




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       DATED this 9th day of July 2018.

                                          /s/ Robert R. Riddle
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